Case 1:05-cr-10038-.]DT Document 17 Filed 06/17/05 Page 1 of 2 Page|D 22

iN THE UN|TED STATES D|STR|CT COURT FJLEO BY
FOR THE WESTERN D|STR|CT OF TENNESSEE ` "
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”“--~_._D.C.

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Plaintifr, ~ - Gi" TN thcl<g@;\,
v. cr. No. 05-10038-03-T

YANCEE POTTS,

Defendant.

 

ORDER ON /-\RRA|GNN|ENT

 

This cause came to be heard on June 17, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counsel, who is appointed:

NAi\/|E: Lloyd Tatum
ADDRESS:

TELEPHONE:

The defendantl through counsel, waived formal arraignment and entered a plea of not
guilty.

A|| motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

The defendant, who is not in custody, may stand on his present bond.

t The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner (i;)eing held without bond pursuant to BRA of 1984), is remanded to the custody of the

U.S. i\/larsha|.

S. THON|AS ANDERSON
United States |Vlagistrate Judge

~`._/

Charges: drug trafficking
Assistant U.S. Attorney assigned to case: Kitchen

Ru|e 32 was Waived not waived.

This document entered on the docket sheet in compliance

with Rule 55 and/or 32(b) FRch on 01 “9@ " O§' 0
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DISTRIC COURT - WESRNTE D"'TRCT 0 TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 1:05-CR-10038 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
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Ste. B-S

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Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
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Honorable J ames Todd
US DISTRICT COURT

